    Case 1:11-cr-00095-GLR         Document 147   Filed 03/21/12   Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                 *

                 vs.                     *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, Jr., et al.            *

*            *         *       *         *         *          *         *        *

                       MEMORANDUM AND ORDER RE: WITHDRAWAL

        The Court has before it the Motion to Withdraw as Counsel

[Document 146] filed by defense counsel.               No response is

necessary to the motion and no hearing is necessary at this

time.

        The instant case has been tried and the Defendant has been

found guilty.          Defense counsel has filed a motion for acquittal

to which the Government shall file a response.                There is nothing

remaining in the case for counsel to do except to present

argument on the motion that they filed and to advocate for the

Defendant in regard to sentencing should the motion be denied.

        Under the circumstances:

        1.       The Motion to Withdraw as Counsel [Document 146] is
                 DENIED.

        2.       Defense counsel shall prepare to argue the pending
                 motion and to advocate for the Defendant in regard to
                 sentencing.
    Case 1:11-cr-00095-GLR   Document 147   Filed 03/21/12   Page 2 of 2



     3.   Defense counsel Curlett shall appear in Court on
          April 13, 20121 and shall be prepared to argue the
          pending motion and to advocate for the Defendant in
          regard to sentencing.

     4.   Should the Defendant seek to have the Court appoint a
          new attorney on April 13, 2012, the Court shall
          consider the matter and take appropriate action.


     SO ORDERED, on Wednesday, March 21, 2012.



                                              /s/___   __ _
                                        Marvin J. Garbis
                                   United States District Judge




1
     Defense counsel Wallach, of Los Angeles, having agreed to
appear in this case as appointed counsel as a public service
without reimbursement of expenses, is not required to travel to
Baltimore to attend further proceedings.
                                   2
